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 1
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 6   ATTORNEY FOR Defendant,
     JONATHEN LEYVA
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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                                                 ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:13-CR-00431-LJO
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                    Plaintiff,                          STIPULATION AND ORDER TO
13                                                      ADVANCE SENTENCING HEARING
            v.
14                                                      Date: December 22, 2014
     JONATHEN LEYVA,
15                                                      Time: 8:30 a.m.
                    Defendant.                          Courtroom: 4
16                                                      Hon. Lawrence J. O’Neill

17   TO:    THE HONORABLE JUDGE LAWRENCE J. O’NEILL, AND TO UNITED
            STATES ATTORNEY BENJAMIN WAGNER AND HIS REPRESENTATIVE,
18          ASSISTANT UNITED STATES ATTORNEY BRIAN K. DELANEY:

19          IT IS HEREBY STIPULATED by and between the parties hereto through their
20   respective counsel that the sentencing hearing in the above captioned matter now set for
21   Monday, December 22, 2014, at 8:30 a.m. be advanced to Monday, December 1, 2014, at
22   8:30 a.m. This request is made by both counsel with the intention of conserving time and
23   resources for both parties and the court.
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                                  STIPULATION AND ORDER TO ADVANCE HEARING
                                         CASE NO.: 1:13-CR-00431-LJO
     Case 1:13-cr-00431-LJO-BAM Document 47 Filed 11/26/14 Page 2 of 2
 1   IT IS SO STIPULATED.

 2                                             Respectfully submitted,

 3   DATED:      November 26, 2014       By: /s/ Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
 4                                           Attorney for Defendant JONATHEN LEYVA
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 7   DATED:      November 26, 2014       By: /s/ Brian K. Delaney
                                             BRIAN K. DELANEY
 8                                           Assistant United States Attorney
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10

11                                               ORDER

12   Based upon the stipulation of the parties and good cause appearing therefor, it is hereby

13   ORDERED that the date of the sentencing hearing of the defendant in the above-entitled case

14   be advanced from Monday, December 22, 2014, at 8:30 a.m. to Monday, December 1, 2014, at

15   8:30 a.m.

16   IT IS SO ORDERED.

17      Dated:     November 26, 2014                        /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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                                STIPULATION AND ORDER TO ADVANCE HEARING
                                       CASE NO.: 1:13-CR-00431-LJO
